Case 1:16-cr-00272-CBA-RLM Document 33 Filed 08/11/17 Page 1 of 1 PageID #: 135




                         UNITED STATED DISTRICT COURT
                         EASTERN DISTRICT OF NEW YORK
                     BEFORE: CAROL BAGLEY AMON.U.S.DJ.


DATED:8/11/2017                               TIME: 11:25-1:15



CRIMINAL CAUSE FOR: Hearing (restitution amount & assault arrest)

DOCKET#: CRl6-00272


DEFENDANT: John Doe- c


ATTORNEY: Joyce London, Esq.

ASSISTANT U.S. ATTORNEY: Nadia Moore


COURT REPORTER: Linda Danelczyk         INTERPRETER: Lily Lau for Govt (Fuzhou)
                                                     Daniel Yang for Dft "

PROBATION OFFICER: Cheryl Fiorillo

PRETRIAL OFFICERS:                        DEPUTY: V. Holley


Interpreters sworn. Hrg begun.
Xue Shing Jian sworn & examined. Tingrong Li sworn & examined.
Hrg cont'd to 8/14/17 at 10:00.
